Case 19-13914-KHK   Doc 25   Filed 12/11/19 Entered 12/11/19 13:49:13   Desc Main
                             Document     Page 1 of 6
Case 19-13914-KHK   Doc 25   Filed 12/11/19 Entered 12/11/19 13:49:13   Desc Main
                             Document     Page 2 of 6
Case 19-13914-KHK   Doc 25   Filed 12/11/19 Entered 12/11/19 13:49:13   Desc Main
                             Document     Page 3 of 6
Case 19-13914-KHK   Doc 25   Filed 12/11/19 Entered 12/11/19 13:49:13   Desc Main
                             Document     Page 4 of 6
Case 19-13914-KHK   Doc 25   Filed 12/11/19 Entered 12/11/19 13:49:13   Desc Main
                             Document     Page 5 of 6
Case 19-13914-KHK   Doc 25   Filed 12/11/19 Entered 12/11/19 13:49:13   Desc Main
                             Document     Page 6 of 6
